           Case 2:06-cr-00455-WBS Document 60 Filed 05/02/07 Page 1 of 3


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4    Telephone: (916) 554-2789
5
6
7                     IN THE UNITED STATES DISTRICT COURT
8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,     )
10                                 )          Cr. S-06-0455-WBS
                    Plaintiff,     )
11                                 )
               v.                  )          STIPULATION AND
12                                 )          [PROPOSED] ORDER
     SUE HER,                      )
13   TONY KETMANY, and             )
     KHANTHY VONGSEDONE,           )
14                                 )
                    Defendants.    )
15   ______________________________)
16        It is hereby stipulated between the following parties,
17   Plaintiff United States of America, by and through United States
18   Attorney McGregor W. Scott and Assistant United States Attorney
19   Phillip A. Talbert, Defendant Tony Ketmany, through his attorney J.
20   Toney, Defendant Khanthy Vongsedone, through his attorney Chris
21   Haydn-Myer, and Defendant Sue Her, through his attorney Shari Rusk,
22   as follows:
23        It is agreed that the status conference date of April 30, 2007
24   be vacated and that a new status conference date of June 11, 2007,
25   at 8:30 a.m. be set.
26        The continuance of the status conference is necessary because
27   the parties are reviewing discovery and conducting defense
28   investigation, and the government is in the process of providing the

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           Case 2:06-cr-00455-WBS Document 60 Filed 05/02/07 Page 2 of 3


1    defendants with approximately 330 pages of additional documents in
2    discovery that defense counsel will need to review.
3         Accordingly, the parties jointly request a new status
4    conference date of June 11, 2007, and that the time period from
5    April 30, 2007, to and including June 11, 2007 be excluded under the
6    Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local
7    Code T4 for defense preparation and based on a finding by the Court
8    that the ends of justice served by granting a continuance outweigh
9    the best interest of the public and each of the defendants in a
10   speedy trial.
11                                            Respectfully submitted,
12   Dated: April 27, 2007                   /s/J. Toney
                                            J. TONEY
13                                          Attorney for Defendant
                                            TONY KETMANY
14                                        By PAT per telephone authorization
15   Dated: April 27, 2007                   /s/Chris Haydn-Myer
                                            CHRIS HAYDN-MYER
16                                          Attorney for Defendant
                                            KHANTHY VONGSEDONE
17                                        By PAT per in-person authorization
18   Dated: April 27, 2007                   /s/Shari Rusk
                                            SHARI RUSK
19                                          Attorney for Defendant
                                            SUE HER
20                                        By PAT per in-person authorization
21
     Dated: April 27, 2007                    McGREGOR W. SCOTT
22                                            United States Attorney
23
                                               /s/Phillip A. Talbert
24                                            PHILLIP A. TALBERT
                                              Assistant U.S. Attorney
25                                            Attorney for Plaintiff
26                                      ORDER
27   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that the status conference
28   currently set for April 30, 2007, be vacated and a new status

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              Case 2:06-cr-00455-WBS Document 60 Filed 05/02/07 Page 3 of 3


1    conference be scheduled on June 11, 2007, at 8:30 a.m., and the time
2    under the Speedy Trial Act should be excluded from April 30, 2007 to
3    June 11, 2007, under Local Code T4, Title 18, United States Code,
4    Section 3161(h)(8)(B)(iv), for defense preparation and based on a
5    finding by the Court that the ends of justice served by granting a
6    continuance outweigh the best interest of the public and each of the
7    defendants in a speedy trial.
8
     Dated:    April 27, 2007
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